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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      12/6/2019


In re: TERRORIST ATTACKS ON
SEPTEMBER 11, 2001
                                                                      03-MDL-1570 (GBD)(SN)

-----------------------------------------------------------------X              ORDER


SARAH NETBURN, United States Magistrate Judge:

         In a November 28, 2019 Letter (ECF No. 5315), the Plaintiffs’ Executive Committee for

Personal Injury and Death Claims responded to the Court’s November 21, 2019 Order (ECF No.

5300) seeking a joint status letter regarding any anticipated motions related to Iran in light of the

passage of Title VII of Public Law 116-69. The Court reviewed the joint status letter and orders:

        Plaintiffs intending to submit motions for final damages judgments for wrongful death on

behalf of individual decedent estates and/or spouses and dependents in advance of the February

19, 2020 VSSTF deadline should submit their proposed motions for judgment by January 15,

2020. The Court requests that plaintiffs submit draft proposed orders, to be used uniformly by all

these moving parties, for the Court’s approval by December 16, 2019.

        The Court is inclined to appoint a Special Master to assess and award damages for

plaintiffs intending to file personal injury claims by the February 19, 2020 VSSTF deadline. The

parties should meet and confer and offer candidates to the Court by December 10, 2019.

        The Court will rule on the outstanding 51 “functional equivalents” motions in advance of

the February 19, 2020 VSSTF deadline. The deadline for filing any new “functional equivalents”

motions for judgment in advance of the February 19, 2020 deadline is January 3, 2020.

SO ORDERED.
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DATED:    December 6, 2019
          New York, New York




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